Case 20-10070-elf     Doc 40      Filed 06/22/20 Entered 06/22/20 19:13:31             Desc Main
                                  Document      Page 1 of 2




                                      U.S. BANKRUPTCY COURT
                                 EASTERN DISTRICT OF PENNSYLVANIA


           IN RE:                                                       Case No.: 20-10070 elf
           Roderick T Meer                                    :         Chapter 13
                                                              :
                                          Debtor.             :
                                                              :
                                                              :




                                            ORDER

         And now, this _________ day of ____________, 2020, upon the Motion for

  Debtor to Withdrawal, of Roderick T Meer (Movant) it is ORDERED that:

  1. The debtor Roderick T Meer has been withdrawn.

  2. The debtor shall serve a copy of this order on the trustee, all parties that were served
  with the Motion, and any parties who objected or responded to the motion.




  DATED:                                        ____________________________________

                                                UNITED STATES BANKRUPTCY JUDGE
Case 20-10070-elf    Doc 40      Filed 06/22/20 Entered 06/22/20 19:13:31             Desc Main
                                 Document      Page 2 of 2



                              CERTIFICATE OF SERVICE


         I hereby certify that on June 22, 2020, I electronically filed the foregoing with the

  Clerk of the Court using the CM/ECF system which sent notification of such filing to the

  following:, William Miller ecfemails@ph13trustee.com, and United States Trustee at

  USTPRegion03.HA.ECF@usdoj.gov.




  DATED: June 22, 2020                             /s/ George R Tadross_______

                                                    George R Tadross, Esquire
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                                                    Philadelphia, PA 19106
                                                    215-500-5000 (phone)
                                                    267-885-2377 (fax)
                                                    Attorney for Debtor
